     Case
      Case23-02005-rlj
            23-02005-rlj Doc
                          Doc5 71Filed
                                     Filed
                                        12/01/23
                                           12/21/23Entered
                                                      Entered
                                                           12/01/23
                                                              12/21/2316:28:07
                                                                         18:00:34Desc
                                                                                   Desc
                                                                                      Summons
                                                                                        Main
                              in an Adversary
                                     DocumentProcee Page 1
                                                         Page
                                                           of 4 1 of 3
BTXN 117a (rev. 10/02)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
McClain Feed Yard, Inc.                                     §
                                                            §   Case No.: 23−20084−rlj7
                                           Debtor(s)        §   Chapter No.: 7
Rabo AgriFinance LLC                                        §
                                           Plaintiff(s)     §   Adversary No.:   23−02005−rlj
       vs.                                                  §
A.J. Jacques Living Trust ; Michael Acey ; Acey             §
Livestock, LLC ; Arnold Braun Trust ; Stan E. Ayers Jr. §
,; Bar D Ranch Land & Cattle LLC ,; Don Ralph Barrett §
,; Barrett's Livestock Inc. ,; Sonny Barthold ,; Bella      §
Elegance LLC ,; Big Seven Capital Partners, LLC ,;          §
Bryan Blackman ,; Dora Blackman ,; Arnold Braun ,;          §
Robert Braun ,; JoAnn & Keith Brooks ,; Brooks Farms
,; Joel Brookshire ,; Eddie Bryant ,; Brent Burnett ,; Joe
Burnett ,; Terry Burnett ,; Dennis Buss ,; Edwin D. Buss
,; Buss Family Trust ,; C Heart Ranch, LLC ,; Richard
Carraway ,; Carraway Cattle, LLC ,; Curtis Jones Farms
,; DAC83 LLC ,; Eric DeJarnatt ,; N. Terry Dicks ,; Don
Jones Farm, Inc. ,; Don Jones Trucking, Inc. ,; Edward
Lewis Dufurrena ,; Rieta May Dufurrena ,; Dufurrena
Cutting Horses ,; Robert Ellis ,; Michael Evans ,;
Douglas Finley ,; Tom Frith ,; Justin Garwood ,;
Garwood Cattle Co. ,; Gene Brookshire Family, LP ,;
Jim Giordano ,; Mike Gourley ,; Robert Gray ,; Ronnie
Gray ,; Gray Brothers Cattle ,; Jimmy Greer ,; Bradley
Gungoll ,; Leah Gungoll ,; Gungoll Cattle, LLC ,; Keith
Harris ,; Jace Harrold ,; Hines Cattle Company, LLC ,;
Hines Farms, LLC ,; Cory Jesko ,; Dwight Jesko ,;
David Johnson ,; Dustin Johnson ,; Kinsey Jones ,;
Jordan Lesh, LLC ,; Larry Keith ,; Kingdom Trust ,;
LFC Cattle ,; Janice Lawhon ,; Colette Lesh ,; Gary
Lesh ,; Jan Lesh ,; Jared Lesh ,; Lesh Family Trust ,;
Charles Lockwood ,; Cole Lockwood ,; Nikki
Lockwood ,; Sherle Lockwood ,; Colton Long ,; MAP
Enterprises ,; Natalie Martus ,; James McCuan ,;
Morrison Cafe, LLC ,; Jean Nix ,; Open A Arena LLC ,;
Barry Phillips ,; Drew Phillips ,; Priest Cattle Company,
Ltd. ,; Priest Victory Investment LLC ,; Christopher
Prince ,; Producers Livestock Commission ,; David
Rainey ,; Rapp Ranch ,; Mark J. Reisz ,; Ralph Reisz ,;
Ridgefield Capital Asset Management ,; Kent Ries ,;
Riley Livestock, Inc. ,; Jim Rininger ,; Angie Robinson
,; Rick Rodgers ,; Wiley Roby Russell Jr. ,; Steve Ryan
,; Scarlet & Black Cattle, LLC ,; Scott Livestock
Company ,; Shaw & Shaw Farms Partnership LLC ,;
Robert J. Spring ,; Jeff Starnes ,; Starnes Cattle ,; Steve
T Scott Farms, Inc. ,; Eddie Stewart ,; Rachel Stewart ,;
Robert Stewart ,; Scott E. Stewart ,; Justin Stuever ,;
Phillip Sullivan ,; Amy Sutton ,; Craig Sutton ,; TGF
Ranch LLC ,; The University of Florida ,; Thorlakson
Diamond T Feeders, LP ,; John Tidwell ,; Mykel
Tidwell ,; John Tindal ,; Tindal Truck Sales ,; Colby
VanBuskirk ,; Janet VanBuskirk ,; Lyndal VanBuskirk
,; Susan VanBuskirk ,; WJ Performance Horses, Inc. ,;
Cameron Weddington ,; Nancy Weddington ,; William
Weddington ,; Job White ,; Wildforest Cattle Company
LLC ,
                                           Defendant(s)
    Case
     Case23-02005-rlj
           23-02005-rlj Doc
                         Doc5 71Filed
                                    Filed
                                       12/01/23
                                          12/21/23Entered
                                                     Entered
                                                          12/01/23
                                                             12/21/2316:28:07
                                                                        18:00:34Desc
                                                                                  Desc
                                                                                     Summons
                                                                                       Main
                             in an Adversary
                                    DocumentProcee Page 2
                                                        Page
                                                          of 4 2 of 3


                          SUMMONS IN AN ADVERSARY PROCEEDING
To the above−named defendant:

You are hereby summoned and required to serve upon Michael R. Johnson, Plaintiff's attorney (or if Plaintiff is not
represented by counsel, upon Plaintiff), whose address is Ray Quinney & Nebeker P.C.
36 South State Street, Suite 1400
Salt Lake City, UT 84111 , either a motion or an answer to the complaint which is now served upon you. If you elect
to respond first by motion, as you may pursuant to Fed. R. Bankr. P. 7012, that governs the time within which your
answer must be served. Otherwise, you are required to serve your answer upon Plaintiff's attorney (or upon Plaintiff if
Plaintiff is not represented by counsel) within 30 days of the date of issuance of this summons by the clerk (or by the
following date prescribed by the court: N/A) except that the United States or an office or agency thereof shall serve
an answer to the complaint within 35 days after the date of issuance of the summons.

{If this summons and complaint is served in a foreign country} Service of your answer must be made by the following
date prescribed by the court N/A.

The motion or answer served by you must be filed with this court before service or within a reasonable time after
service. IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS SUMMONS, JUDGMENT BY
DEFAULT WILL BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



DATED: 12/1/23                                 FOR THE COURT:
                                               Robert P. Colwell, Clerk of Court

                                               by: /s/C. Graham, Deputy Clerk
    Case
     Case23-02005-rlj
           23-02005-rlj Doc
                         Doc5 71Filed
                                    Filed
                                       12/01/23
                                          12/21/23Entered
                                                     Entered
                                                          12/01/23
                                                             12/21/2316:28:07
                                                                        18:00:34Desc
                                                                                  Desc
                                                                                     Summons
                                                                                       Main
                             in an Adversary
                                    DocumentProcee      Page
                                                   Page 3 of 4 3 of 3

    In Re: Rabo AgriFinance LLC v. Acey Livestock, LLC et al
    Case No. 23−20084−rlj7 −7
    Adv. No. 23−02005−rlj

                                     SUMMONS SERVICE EXECUTED

   I, Carrie Hurst of**Ray Quinney & Nebeker P.C. certify:




     If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and all times during service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made;

      That on the 7th day of December, 2023, I caused to be served a copy of the within summons, together with the
Amended complaint and Order Regarding Adversary Proceeding Trial Setting and Alternative Scheduling Order
filed in this proceeding, on Susan VanBuskirk


 a defendant in this proceeding, by Certified Mail, return receipt requested at:

            P.O. Box 778
            Ringling, OK 73456




I certify under penalty of perjury that the foregoing is true and correct.



                       Executed on 12/7/2023                   /s/ Carrie Hurst
                           (Date)                                 (Signature)


        **36 South State Street, Suite 1400, Salt Lake City, UT 84111

           State mailing address
Case 23-02005-rlj   Doc 71   Filed 12/21/23 Entered 12/21/23 18:00:34   Desc Main
                             Document      Page 4 of 4
